                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                        CRIMINAL DOCKET NO.: 3:03CR220

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                        ORDER
BOBBY LEE WATSON (6),               )
                                    )
            Defendant.              )
___________________________________ )

       THIS MATTER is before the Court on defense counsel’s “Motion to Withdraw as

Counsel for Defendant,” filed September 22, 2005.

       In this Motion, defense counsel advises the Court that in light of allegations made in two

letters sent from Defendant to this Court, the attorney-client relationship between Defendant and

counsel has completely broken down. Defense counsel believes that in order for Defendant to be

adequately represented in the sentencing phase of this case, counsel needs to withdraw and the

Court needs to appoint new counsel to represent Defendant.

       After reviewing defense counsel’s Motion and Defendant’s letters, the Court finds that a

hearing on this matter is appropriate.

       IT IS, THEREFORE, ORDERED that the Clerk will schedule a hearing on defense

counsel’s “Motion to Withdraw as Counsel for Defendant” for October 27, 2005 at 1:45 p.m. in

the Charlotte Division of the Western District of North Carolina.




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                     Signed: October 20, 2005




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